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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )       Case No. S1-4:20-CR-00418-JAR
v.                                           )
                                             )
JAMES TIMOTHY NORMAN,                        )
                                             )
                      Defendant.             )

 UNITED STATES’ MOTION IN LIMINE TO EXCLUDE IMPROPER CHARACTER
                EVIDENCE OF DEFENDANT AND VICTIM
 AND TO PERMIT IMPEACHMENT OF DEFENDANT’S CHARACTER WITNESSES

        COMES NOW the United States, by and through its attorney, United States Attorney

Sayler A. Fleming, and Angie E. Danis and Gwendolyn E. Carroll, Assistant United States

Attorneys, and moves this Court to exclude improper evidence of the character of Defendant

Norman or victim Andre Montgomery. In support of its Motion, the United States of America

states as follows:

     1. Procedural Background

        On Friday, September 9, 2022, Defendant Norman called Ed Chandler as a witness.

Defendant Norman elicited testimony from Mr. Chandler as to Defendant Norman’s reputation for

truthfulness and peacefulness, as well as Mr. Chandler’s opinion that Defendant Norman possessed

those traits. Counsel for Defendant Norman has previously indicated that Defendant Norman

intends to call 4-10 witnesses in the defense case. In anticipation that Defendant Norman will call

additional character witnesses, including Robbie Montgomery – the mother of Defendant Norman,

the United States files this present motion to exclude improper evidence of Defendant Norman’s


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character, and to alert the Court to the United States’ intention to impeach Defendant Norman’s

character witnesses as to the witness’s familiarity with instances of Defendant Norman’s conduct

that contradict the traits of peacefulness or truthfulness. The United States further moves to

prevent witnesses called by Defendant Norman from offering irrelevant evidence of Andre

Montgomery’s character, through reputation, opinion, or specific acts.

   2. Governing Law Concerning Evidence of a Defendant’s Character

       Rule 404(a)(2)(A) states that a defendant in a criminal case “may offer evidence of the

defendant’s pertinent trait, and if the evidence is admitted, the prosecutor may offer evidence to

rebut it.” Fed. R. Evid. 404(a)(2)(A). “In the criminal context, a pertinent character trait is one

that is relevant to the offense charged.” United States v. John, 309 F.3d 298, 303 (5th Cir. 2002);

see also United States v. Staggs, 553 F.2d 1073, 1076 (7th Cir. 1977) (“[A] character trait can only

be “pertinent” if its existence is relevant to the outcome of the case.”); Gross v. United States, 394

F.2d 216, 219 (8th Cir. 1968) (“Generally, in a criminal case, the defendant may introduce

evidence of his good reputation relating to the time and place of the act or acts charged and before.

. . . Inquiry as to the reputation of the person involved must relate in criminal cases to that existing

at the time of the crime, and a reasonable anterior time through which such reputation continues,

not too remote from the date of the crime.’”) (internal citations omitted).

        However, a party may not elicit testimony from a character witness regarding specific

instances of defendant’s conduct under the guise of explaining the basis for, or laying the

foundation for, the testimony of a character witness. The advisory committee note to Rule 405

explains that

        The express allowance of inquiry into specific instances of conduct on cross-
        examination [of a character witness under Rule 405(a)] and the express allowance
        of it as part of a case-in-chief when character is actually in issue [under Rule 405(b)]
        contemplates that testimony of specific instances is generally not permissible on


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       direct examination of an ordinary opinion witness to character . . . Opinion
       testimony on direct in th[is] situation ought in general to correspond to reputation
       testimony as now given, i.e., be confined to the nature and extent of the observation
       and acquaintance upon which the opinion is based. See Rule 701.

Fed. R. Evid. 405 advisory committee note. This limitation on specific instance evidence is in

place because such evidence “possesses the greatest capacity to arouse prejudice, to confuse, and

to consume time.” Id.; see United States v. Smith, 230 F.3d 300, 308 (7th Cir. 2000). Accordingly,

after a proper foundation is laid, the testimony of a character witness ]should be limited to (1)

whether he has an opinion concerning a pertinent trait of the defendant or knows about the

defendant’s reputation concerning that trait; and (2) what that opinion or reputation is. Unless a

pertinent trait is an essential element of a crime or defense, a party seeking to introduce evidence

of a defendant’s pertinent trait is limited to reputation or opinion testimony.

       Here, neither peacefulness nor truthfulness are essential elements of the charged offenses.

United States v. Gregg, 451 F.3d 930, 934 (8th Cir. 2006) (noting that character evidence does not

constitute an essential element of a claim or charge unless it alters the rights and liabilities of the

parties under the substantive law) (internal citations omitted). United States v. White, 737 F.3d 1121,

1137 (7th Cir. 2013) (“law abidingness, or lack thereof, [was] not an essential element of a wire

fraud charge, nor a defense to it”); United States v. Marrero, 904 F.2d 251, 261 (5th Cir. 1990)

(defendant’s character not an essential element in fraud case); United States v. Kosinski, 2017 WL

4953902, at *4 (D. Conn. Oct. 31, 2017) (“[d]efendant’s character is not an essential element of

the insider trading crimes for which he was indicted . . . “).

       As the Ninth Circuit explained in United States v. Charley, 1 F.4th 637, 646 (9th Cir. 2021),

“in determining whether violent character is ‘an essential element’ of a self-defense claim under

Rule 405(b), ‘[t]he relevant question should be: would proof, or failure of proof, of the character

trait by itself actually satisfy an element of the charge, claim, or defense? If not, then character is


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not essential and evidence should be limited to [general] opinion or reputation” testimony.”

(internal citations omitted). The defendant’s character for truthfulness or peacefulness does not

satisfy this test, and thus, cannot constitute an essential element.

       “When character is used circumstantially and hence occupies a lesser status in the case,

proof may only be by reputation and opinion.” Gregg, 451 F.3d 930, 934 (8th Cir. 2006). In

particular, when a character trait is not an essential element of a crime or defense, a defendant may

not seek to prove his good character through evidence of specific “non-acts,” i.e., by showing that

he acted lawfully on other occasions. See, e.g., United States v. Williams, 205 F.3d 623, 624 (2d

Cir. 2000) (“[a] defendant may not seek to establish his innocence . . . through proof of the absence

of criminal acts on [other] specific occasions.”); United States v. Ellisor, 522 F.3d 1255, 1270-71

(11th Cir. 2008) (excluding evidence of defendant’s legitimate business dealings offered to negate

fraudulent intent); United States v. Reese, 666 F.3d 1007, 1020 (7th Cir. 2012) (evidence that a

defendant acted lawfully on other occasions is generally inadmissible to prove he acted lawfully

on the occasion alleged in the indictment). Accordingly, Defendant Norman may not elicit

evidence of specific acts in order to prove a certain character trait.

           a. Defendant Norman May Not Elicit Evidence of Irrelevant Traits, or Evidence
              of Specific Instances of his Conduct to Demonstrate his Character for
              Truthfulness or Peacefulness.

       Defendant Norman may attempt to elicit evidence from witnesses as to their opinion of and

knowledge of Defendant Norman’s reputations for honesty, truthfulness and peacefulness. The

United States contends that Defendant Norman’s character for peacefulness is not, in fact, relevant

within the meaning of Fed.R.Evid. 405. Defendant Norman is not alleged to have initiated a

physical confrontation with the victim in this matter, but rather, to have orchestrated the conspiracy

the purpose of which was to cause another individual to murder Andre Montgomery. But to the



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limited extent that such evidence of Defendant Norman’s peacefulness might be of some

conceivable possible relevance, as the law above makes clear, Defendant Norman may not seek to

admit evidence of specific instances of conduct to demonstrate his character for those traits.

       Further, to the extent that Defendant Norman attempts to have his mother, or any other

character witness, testify as to his general good nature, including his dedication to his family, such

testimony is inadmissible. See United States v. Harris, 491 F.3d 440, 446-47 (D.C. Cir. 2007)

(testimony of defendant’s mother and girlfriend designed to cast defendant in a “sympathetic light

of a dedicated family man who spent the evening before his criminal adventure talking with his

mother, playing with his son, and ‘caring for his girlfriend,” was inadmissible under Rule

404(a)(2)(A), because the evidence did not concern a pertinent character trait); United States v.

Nazzaro, 889 F.2d 1158, 1168 (1st Cir. 1989) (affirming district court’s exclusion of proof of the

professional commendations received by defendant, charged with mail fraud conspiracy and

perjury, relating to the purchase of police officer promotion exams and answers, holding that the

excluded evidence went to traits – bravery, attention to duty, perhaps community spirit – which

were not pertinent to the crimes of which the defendant was accused).

           b. Once Defendant Norman has Elicited Evidence of His Character for
              Peacefulness or Truthfulness, the United States May Examine Character
              Witnesses as to their Knowledge of Specific Instances of His Character.

       Once Defendant Norman has opened the door by examining witnesses as to their familiarity

with Defendant Norman’s reputation for the traits of truthfulness and peacefulness, the United

States is permitted to test the credibility of those witnesses through cross-examination as to specific

instances of Defendant Norman’s conduct. As the Eighth Circuit has recognized, “[e]vidence of

a defendant’s character is admissible in criminal cases where the defendant introduces evidence

aimed at portraying his own character in a positive light, and the prosecution is only rebutting the



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inference to be drawn from such statements.” United States v. Allen, 630 F.3d 762, 766 (8th Cir.

2011) (citing Cf. United States v. Samples, 456 F.3d 875, 884 (8th Cir. 2006), cert. denied, 549

U.S. 1186 (2007) (“[W]here the instigating party opens the door to questioning ... it is estopped

from complaining if its adversary offers fair rebuttal.”); United States v. Womochil, 778 F.2d 1311,

1315 (8th Cir. 1985) (finding no abuse of discretion in allowing the government to clarify a false

impression created by defense counsel on cross-examination). As the Eighth Circuit explained in

Gross, “[w]hen a defendant places his reputation in issue by the introduction of what are loosely

described as ‘character’ witnesses, he opens the way for the prosecution to test the credibility of

such witnesses by making inquiry on cross-examination as to whether the witness had knowledge

of specific facts which, if known generally, would have a tendency to detract from the summary

of reputation testified to by the character witnesses.” Gross, 394 F.2d at 219.

       In the present case, Defendant Norman has the following criminal convictions, certified

copies of which have been provided to Defendant Norman: (1) St. Louis County: Case No. #96CR-

006115: 2d Degree Assault; (2) St. Louis County: Case No. 97CR-00675A: First Degree Robbery;

Armed Criminal Action; (3) St. Louis County: Case No. 97CR-00595B: Attempted Robbery, First

Degree; Armed Criminal Action; Kidnapping – Facilitating A Felony – Inflicting Injury –

Terrorizing. These convictions are widely known in Defendant Norman’s community, and are

referenced explicitly on the Welcome to Sweetie Pies television program. These convictions are

widely known in Defendant Norman’s community and are referenced explicitly on the Welcome

to Sweetie Pies television program.

       These instances of conduct are the proper subject of cross-examination of any witness

testifying as to Defendant Norman’s reputation for peacefulness, or the witness’s opinion of that

trait. As the Eighth Circuit explained in United States v. Bruguier, 161 F.3d 1145 (8th Cir. 1998):



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       [The character witnesses] gave their opinion that the defendant was a good father.
       We think it was proper cross-examination for the government to explore the
       witnesses’ basis for holding such an opinion. If, for example, a finding of child
       neglect has been made with respect to [the defendant], and if the witnesses knew
       that, any grounds for them believing that [the defendant] was a good father would
       have been undermined. And if, on the other hand, the witnesses were not aware of
       such a finding, a jury might beieve that their acquaintance with the defendant was
       not thorough enough to justify their opinion.

161 F.3d at 1149. Further, even if these incidents had not been widely known to the community,

as the Court acknowledged in Bruguier, “[a] specific instance of misconduct, even if not of the

kind generally known in the community, would be relevant to the witness’s own opinion, for

reasons we have explained.” Id. at 1150. Where, as here, this evidence is relevant and probative

of a character witness’s familiarity with Defendant Norman’s character, the United States should

be permitted to examine the witness regarding these convictions.

   3. Defendant Norman Should Not be Permitted to Admit Irrelevant Evidence of Andre
      Montgomery’s Character.

       In the present case, Defendant James Timothy Norman (“Defendant Norman”) should be

precluded from admitting evidence of homicide victim Andre Montgomery’s character, either

through testimony as to his reputation to or as to specific instances of conduct. Here, Defendant

Norman has not raised the defense that he acted in self-defense. Indeed, the evidence does not

establish that Defendant Norman was present at the scene of Andre Montgomery’s homicide.

Evidence of Andre’s violent character could only have even arguable relevance if Defendant

Norman were contending that he had acted in self-defense. Defendant Norman has not raised that

claim, nor would the evidence support that claim should it have been raised. Such evidence is not

relevant, and is far more prejudicial than probative.

       A defendant can introduce evidence of a victim’s reputation for violent character to in

homicide cases only where self-defense is raised. See Fed.R.Evid. 404(a)(2); United States v.



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Emeron Taken Alive, 262 F.3d 711, 714 (8th Cir.2001) (“When a defendant raises a self-defense

claim, reputation evidence of the victim’s violent character is relevant to show the victim as the

proposed aggressor.”). Further, even if Defendant Norman had a colorable claim of acting in self-

defense, of which there is no evidence, pursuant to Fed.R.Evid. 405(b), Defendant Norman may

not offer specific evidence of Andre Montgomery’s prior conduct in order to establish his

conformity therewith. In United States v. Gregg, 451 F.3d 930, 933-34 (8th Cir. 2006), the Eighth

Circuit held that evidence of a victim’s specific acts of violence, even where self-defense was

raised by the defendant, was inadmissible pursuant to Fed.R.Evid. 405(b). The Court cited the

Ninth Circuit’s holding (referring to it as “the better rule”) in United States v. Keiser, 57 F.3d 847,

853 (9th Cir.1995), in which the Ninth Circuit affirmed the district court’s exclusion of specific

acts evidence of a victim’s prior violent conduct on the basis that such evidence would not prove

an essential element of a self-defense claim and therefore should be excluded under Rule 405(b).

Id. at n.5.

        The Eighth Circuit further noted that although “Gregg never properly sought to admit

specific acts evidence before the district court, the district court was never presented with the issue

for ruling,” but “[h]ad the district court determined the evidence was proper under Rule 405, it

may well have determined the evidence should have been excluded under Rule 403.” Id. at n. 6

(citing United States v. Waloke, 962 F.2d 824, 830 (8th Cir. 1992)). Because Andre Montgomery’s

character for violence has no connection to an essential element of the defense, and is more

prejudicial than probative, this Court should preclude Defendant Norman from attempting to

establish Andre Montgomery’s character through witnesses called in the defense case-in-chief.

        Further, during cross-examination of government witnesses, Defendant Norman has

repeatedly attempted to elicit evidence of Andre Montgomery’s alleged involvement in ATM



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robberies, car thefts, and the burglary of Robbie Montgomery’s home. This evidence has no

relevance to the charged conduct, and its prejudicial effect substantially outweighs any potentially

probative value. Further, any evidence Defendant Norman might attempt to elicit through his

character witnesses as to Andre Montgomery’s behavior and lifestyle would be speculative and

based on hearsay, and as such, should be excluded.

                                         CONCLUSION

       For the foregoing reasons, the United States respectfully requests that this Court GRANT

the United States Motion in Limine to exclude improper character evidence as to Defendant

Norman and victim Andre Montgomery.

                                              Respectfully submitted,

                                              SAYLER A. FLEMING
                                              UNITED STATES ATTORNEY

                                              /s/ Gwendolyn E. Carroll
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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 11, 2022, the undersigned filed the foregoing
electronically with the Clerk of the Court to be served by way of the Court’s electronic filing
system upon all counsel of record.

                                              /s/ Gwendolyn E. Carroll
                                              Gwendolyn E. Carroll #4657003NY




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